
McKinney, J.,
delivered the opinion of the Court.
This is a question of costs. The plaintiff in error was indicted and convicted of murder; and the question is presented for our determination, whether the costs shall be paid out of the State Treasury, or out of the Treasury of the county in which the crime was committed, and in which the prosecution was instituted.
The act of 1819, ch. 35, sec. 3, provides, that the costs in all prosecutions against slaves, for capital offences, shall be paid by the county in which the trial takes place. But this act is clearly repealed by the subsequent act of 1827, ch. 36, Sec. 1. The latter act (which is incorrectly recited in Caruthers and Nicholson’s Digest) provides, that “ in all criminal cases above the grade of petit larceny, originating in the Circuit Courts, where the defendant may be acquitted, and in all cases where the defendant may be convicted, and shall prove insolvent and unable to pay the costs, the same shall be paid out of the Treasury of the State.”
*206By the act of 1835, ch. 19, sec. 9, exclusive jurisdiction of all offences committed by slaves, which are by law punishaable with death, is conferred upon the Circuit Courts.
It necessarily follows, therefore, that prosecutions against slaves, for capital offences, are as much within the provisions of the act of 1827, as are all prosecutions against free persons, originating in the Circuit Court, above the grade of petit larceny. This proposition is too plain to admit of discussion; and the costs will be adjudged accordingly.
